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     Chambers of                                                            -., :. '''5 r "\L'c101 West           Lombard Street
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  District Court Judge                                                     ",.                 I..            410-962-0742
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                                                       November 19,2018

      LETTER TO COUNSEL

               Re:       Slale oj Mary/and v. United Slales oj America, el at.
                         Civil No.: ELH-18-2849

      Dear Counsel:

              As you know, on September 11,2018, the State of Maryland filed a single-count action
      under the Declaratory Judgment Act, 28 U.S.C. S 2201, against         a host of defendants: the
      United States of America; the United States Department of Justicc; Jefferson B. Sessions, Ill, in
      his official capacity as Attorney General; the United States Department of Health and Human
      Services; Alex M. Azar, II, in his official capacity as Secretary of Health and Human Services; the
      United States Internal Revenue Service; and Charles P. Rcttig, in his official capacity as
      Commissioner of Internal Revenue. ECF I (the "Complaint"). The State alleges that the Trump
      administration has refused to appropriately defend and enforce the Patient Protection and
      Affordable Care Act, Pub. L. No. 111-148, 124 Stat. 119 (Mar. 23, 2010), as amended by the
      Health Care and Education Reconciliation Act of2010, Pub. L. No. 111-152,124 Stat. 1029 (Mar.
      30,2010) (collectively, thc "Affordable Care Act" or "Act"). Jd. ~~ 35-42.

                Thereafter, on :--!ovember 7, 2018, Mr. Sessions resigned from his position as the Attorney
       General, and President Donald J. Trump appointed Matthew G. Whitaker as the Acting Attorney
       General. On November 11,2018, following Mr. Whitaker's appointment, the State Iiled a "Motion
       for Preliminary Injunction and to Substitute Defendant" (ECF 6), accompanied by a memorandum
       oflaw. ECF 6-1 (collcctively, "Motion for Preliminary Injunction"). The State claims that Deputy
       Attorney General Rod J. Rosenstein is the Acting Attorney General. Therefore, it seeks to "restrain
       and enjoin defendants from answering the complaint," ECF 6 at 1, and from moving forward in
       this litigation with Mr, Whitaker appearing as the Acting Attorney General. ECF 6-1 at 3.
       Additionally, the State seeks to substitute Deputy Attorney General Rod. J. Rosenstein, in his
       official capacity, as the Acting Attorney General. ECF 6 at I.

               In a telephone conference call held on November 13, 2018, I was advised that the State
       intended to a file an Amended Complaint substituting Mr. Whitaker as a defendant, in lieu of Mr.
       Sessions. By Order of the same date, I set relevant briefing deadlines and scheduled a hearing for
       December 19,2018, in connection with the State's Motion for Preliminary Injunction. See ECF 7.
       In addition, I suggested that, at the conclusion of that hearing, we would set a date for defendants'
       response to the Amended Complaint. See id. ~ 5.
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       Shortly thereafter, the State filed an Amended Complaint.           ECF 8 (the "Amended
Complaint"). It asserted the same allegations against defendants that were alleged in the initial
Complaint. See id. However, the State named two additional defendants: Mr. Rosenstein and Mr.
Whitaker, both in their official capacities at the Department of Justice. Id. ~ IS.

        Despite the provision of ECF 7, ~ 5, defendants have moved to dismiss the Amended
Complaint, pursuant to Fed. R. Civ. P. 12(b)(l), for lack of subject matter of jurisdiction, and under
Fed. R. Civ. P. 12(b)(6), for failure to state a claim. ECF II. The motion is supported by a
memorandum of law. ECF II-I (collectively, "Motion to Dismiss"). In their Motion to Dismiss,
defendants raise a standing issue that may have an impact on the pending Motion for Preliminary
Injunction.

        In light of the standing issue raised by defendants, the schedule is hereby amended, as
follows:

           1. The State shall respond to the Motion to Dismiss by 5:00 p.m. on December 3, 2018.

        2. The government may reply by 5:00 p.m. on December 10, 2018.

        3. In all other respects, ECF 7 remains unchanged.

           Despite the informal nature of this letter, it is an Order of the Court and shall be docketed
as such.

                                                                  Sincerely,

                                                                     /s/
                                                                  Ellen Lipton Hollander
                                                                  United States District Judge
